Case 2:17-cv-OOl70-A.]S Document 104 Filed 10/02/18 Page 1 of 2

ROVER PIPELINE LLC,

V.

ROVER TRACT NO. PA-WA-HL-OO4.500T
COMPRISED OF PERMANENT
EASEl\/IENT(S) TOTALING 0.9 ACRES,
MORE OR LESS, AND TEMPORARY
EASEMENT(S) TOTALING l.33 ACRES,
MORE OR LESS, OVER A PARCEL OF
LAND lN HANOVER TOWNSHIP,
WASHINGTON COUNTY,
PENNSYLVANIA, TOTALlNG 49.571
ACRES, MORE OR LESS,

JAl\/IES l\/I. BUCHANAN AND DIANE
ZACK BUCHANAN FARl\/l #4, LP,

ET AL.

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

No. 2: l7-CV-OOl 70-AJS
Plaintiff,

\,/\./\_/\_/WW\./W\/\_/\/\_/\/\_/\/V\/\/\/\/\/\/\'/

Defendants.

Motion to Enforce

AND NOW, come Thomas T. Frampton, Esquire; Andrea Geraghty, Esquire; and LuAnn

Datesh, Esquire, and set forth the following in support of their l\/lotion to Enforce:

l.

The above-captioned case is a condemnation action brought by Plaintiff pursuant to the
Natural Gas Act; 15 U.S.C. § 7l7(l)(h) and Federal Rule of Civil Procedure 71.1.
By Order filed August 23, 2017, the Honorable Arthur J. SchWab appointed Thornas

T. Fralnpton, Esquire; Andrea Geraghty, Esquire and LuAnn Datesh, Esquire to Serve

Case 2:17-cv-OOl70-A.]S Document 104 Filed 10/02/18 Page 2 of 2

as Commissioners in accordance with Fed. R. Civil. P. 71 .l and Thomas T. Frampton,
Esquire, was appointed Chairman of said Commission.

3. ln the Second lnterim Status Report of the Commissioners filed on August 1, 2018
(Doc. 101), the Commissioners reported that fees owed to said Commissioners by
Defendant Old Wilson Land Trust remained unpaid despite repeated requests and
requested the Court to enter an Order directing paymentl

4. By Order of August 3, 2018 (Doc. 103) the Court Ordered as follows:

“lt is ALSO ORDERED that the following fees and costs owed to
the Commissioners, as of lune 30, 2018, by Old Wilson Farm Land

Trust be paid by September 3, 2018 or suffer further Action of the
Court:

Andrea Geraghty, Esquire: $4,700.00
LuAnn Datesh, Esquire: $4,600.00
Thomas T. Frampton, Esquire: $5,527.74”
5. All of the above fees remain unpaid and the Cornmissioners would request that the
Court enter an appropriate Order to enforce its Order of August 3, 2018, directing

payment of the requested fees to the Commissioners.

Date: October 2, 2018 Respectfully submitted,

 
   
 

» " ; y for the Commissioners
fhomas, T. Frampto)i: Esquire, Chairman

Andrew Geraghty, Esquire

LuAnn Datesh, Esquire

 

